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                          IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      RALEIGH DIVISION


  IN RE:                                                    )
                                                            )              Case No.: 09-10347-8-SWH
  RODNEY ALLEN MCCOWAN,                                     )                    Chapter 7
                                                            )
           DEBTOR                                           )


                                  MEMORANDUM ON IN RE CRAWFORD

           The Chapter 7 Trustee cited In re Crawford, 511 B.R. 395 (Bankr. W.D.N.C. 2014) for

  the proposition that a debtor who is entitled to a homestead exemption pursuant to N.C. Gen.

  Stat. §1C-1601(a)(1) based on the circumstances that exist on the date of the filing of a chapter 7

  bankruptcy loses that exemption if the circumstances change post-petition to eliminate one of the

  essential elements of the exemption. In Crawford, the debtor claimed an exemption in the

  property which she owned and in which her elderly uncle resided. She asserted that the uncle

  was her dependent. The uncle died 69 days post-petition. Judge Whitley held that the debtor

  was not entitled to an exemption because the uncle was not debtor’s dependent.

           Having denied the exemption, Judge Whitley in dicta provided additional grounds for

  denying the exemption. Quoting Judge A. Thomas Small’s opinion in In re Love, 42 B.R. 317,

  318 (Bankr. E.D.N.C. 1984), aff’d 54 B.R. 947 (E.D.N.C. 1985), and citing In re Mahaffey, 91

  F.3d 131 (4th Cir. 1996)1, he stated that even though exemptions are determined as of the date of

  the filing of the petition, the exemption provided and §1601(a)(1) is conditioned upon a debtor’s

  continued use of the residence. Consequently, he held as an alternative ground for denying the

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     The cite by Judge Whitley to Mahaffey is puzzling. It is an unpublished opinion with unusual facts. The debtors
  transferred their residence to their daughter without consideration within the year prior to filing bankruptcy. He
  filed a §548 action, and since the debtors had transferred the property, they lost the right to claim an exemption in
  the property. In a commendable display of compassion, the Court raised on its own accord the issue of whether the
  debtors had intended to retain a life estate in the property when they transferred the property, and whether the deed
  should be reformed to retain a life estate. The Court remanded the case for such a determination, and held that if the
  deed was so reformed, the debtors actually owned a life estate on the date of the petition, which had not been
  transferred, and they could exempt that life estate. The opinion does not appear to support the holding in Crawford.
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  exemption. For the reasons set out below, Judge Whitley’s holding is not an accurate recitation

  of the law.

         The principle that exemptions are determined as of the date of the petition was

  established as long as 1924 in the case of White v. Stump, 266 U.S. 310 (1924). The court stated:

         When the law speaks of property which is exempt and of rights to exemptions, it
         of course refers to some point of time. In our opinion, this point of time is the one
         of which the general estate passes out of the bankruptcy’s control, and with
         respect to which this status of the rights of the bankruptcy, the creditors, and the
         trustee in other particulars are fixed. The provisions before cited show – some
         expressly and others impliedly – that one common point of time is intended and
         that is the date of the filing of the petition.

  266 U.S. 310 at 314 (emphasis added).

         This “snapshot rule” of fixing exemption rights as of the date of the petition as set out in

  White v. Stump has carried over from the Bankruptcy Act of 1898 to the Bankruptcy Code of

  1978. See Matter of Hawk, 871 F.3d 287 (5th Cir. 2017) and In re Earl, 705 Fed. Appx. 584

  (9th Cir. 2017). See also In re Rogers, 2016 WL 5794707 (Bankr E.D.N.C. 2016) (citing Love

  for the statement “the court looks to the use of the property as of the date of the filing of the

  petition.); In re Lude, 291 B.R. 109 (Bankr. S.D.Ohio 2003); In re Heater, 189 B.R. 629 (Bankr.

  E.D.Va. 1995.

         With the settled principle that exemptions are determined as of the petition date, how

  could a court hold that post-petition event caused a debtor to lose an exemption? The basis for

  such ruling arises out of the application of exemptions in opt-out states. For example, Virginia’s

  exemption statute does not allow a debtor to exempt personal property from a judgment arising

  out of judgment for rent. Despite this limitation, the Bankruptcy Court allows the debtor to

  avoid a judgment lien on personal property for unpaid rent In re Snow, 71 B.R. 186 (Bankr.

  W.D.Va. 1987). The district court reversed, holding that since Virginia’s exemption statute did

  not allow an exemption as to unpaid rent, the debtors could not utilize §522(f) to avoid the lien.
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  The Fourth Circuit reversed the district court holding that the limitation of the Virginia

  exemption statute did not prevent the lien avoidance. In re Snow, 1899 F.2d 337 (4th Cir. 1990).

         In a vein similar to the district court’s holding in Snow, and prior to the Fourth Circuit’s

  ruling in Snow, Judge Small held in Love that since the right to exempt a residence under G.S.

  1C-§1601(a)(1) is conditional upon using the property as a residence, even though the debtor is

  using the property as a residence on the petition date, if he ceases to use the property as a

  residence is exempt, it is no longer exempt.

         The conflict arising out of the application of the particularities of exemptions in opt-out

  states and other provisions of the Bankruptcy Code came to a head in Owen v. Owen, 111 S.Ct.

  1833 (1991). In that case, the debtor’s homestead was encumbered by a judgment lien to his ex-

  wife. Under Florida law, a debtor did not have a homestead exemption against a judgment that

  attached to the property before the property acquired its homestead status. The court held that

  the limitation on exempting his homestead from the claim of such a creditor did not prevent him

  from exempting the homestead and avoiding the judicial lien impairing it. The Court stated, “we

  have no basis for pronouncing the opt-out policy absolute but must apply it along with whatever

  other competing or limiting policies the statutes contain.” Owen at 1138. Obviously, one of the

  competing policies is the bedrock principle that exemptions speak as of the date of the petition.

  The Ninth Circuit Bankruptcy Appellant Panel succinctly summarized the impact of Owens in In

  re Kim, 257 B.R. 680 (9th Cir. BAP 2000). In footnote 11, it stated:

         In Owen, the Supreme Court held that a judicial lien may be avoidable under
         §522(f) even though the state exemption law deprived its debtors of homestead
         protection from pre-existing liens. Owen, 500 U.S. at 313, 111 S.Ct. 1833 (“it is
         not inconsistent to have a policy disfavoring the impingement of certain types of
         liens upon exemptions, whether federal- or state-created. We have no basis for
         pronouncing the opt-out policy absolute, but must apply it along with whatever
         other competing or limiting policies the statute (section 522) contains.”)
         (emphasis added). In other words, while states may carve out their specific

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         exemptions, the state exemption law must not conflict with general policies
         underlying section 522, such as the date for determination of exemptions.

         That Love does not correctly reflect the current status of the law in the Eastern District of

  North Carolina is manifested by the fact that this Court routinely enters orders avoiding

  judgment liens of debtors’ residences in both chapter 7 and chapter 13 cases without limiting the

  avoidance to the debtors’ continued use of the property as residences. These orders have been

  entered by every judge who has presided in the E.D.N.C., including the judge who issued the

  opinion in Love.

         This the 3rd day of May, 2018.

                                                JANVIER LAW FIRM, PLLC

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                                    CERTIFICATE OF SERVICE

         I, Darlene Hill of Janvier Law Firm, PLLC, do hereby certify that I served the attached

  Memorandum on In re Crawford upon the parties listed below by mailing a copy thereof to said

  parties at the address indicated below with its proper postage attached and deposited in an

  official depository under the exclusive care and custody of the United States Post Office in

  Raleigh, North Carolina or by the ECF System as allowed by law.

         The following were served via electronic service:

         Gregory B. Crampton, Chapter 7 Trustee

  I declare under penalty of perjury that the foregoing is true and correct.

         This the 3rd day of May, 2018.

                                                        s/ Darlene Hill
                                                        Darlene Hill




                                                    5
